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                                  STATE OF MINNESOTA
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                                                   November 2, 2018

The Honorable Leo I. Brisbois
Magistrate Judge, District of Minnesota
United States District Court
515 West 1st Street, Room 412
Duluth, MN 55802-1397

       Re:        Donald Vogel v. Thomas Roy, et al.
                  Court File No. 17-cv-03459 (WMW/LIB)

Dear Magistrate Judge Brisbois:

        I represent Defendants Thomas Roy and Patrick Courtney in the above-referenced matter.
In its Settlement Conference Order, the Court scheduled a settlement conference for
November 14, 2018 in Fergus Falls. On October 31, 2018, Defendants filed a motion for
summary judgment, in which Defendants ask the Court to dismiss all claims against them. At
this time, Defendants do not intend on making any offers of settlement while their motion for
summary judgment is pending. Defendants believe it would be a more productive use of the
parties’ and the Court’s time and resources if the settlement conference were to take place after
the Court’s ruling, should any of Plaintiff’s claims survive Defendants’ motion. As such,
Defendants respectfully request the November 14, 2018 settlement conference be rescheduled to
take place after the Court rules on Defendants’ summary judgment motion. Defendants’ counsel
met and conferred with Plaintiff’s counsel by phone regarding this matter, and Plaintiff does not
agree to Defendants’ request to postpone the settlement conference.

       Thank you for your time and attention to this matter.

                                                              Sincerely,

                                                              s/ Bradley D. Simon
                                                              BRADLEY D. SIMON
                                                              Assistant Attorney General

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                                                              Attorneys for Defendants Roy And Courtney

cc:    C. Peter Erlinder, Terry Duggins, and Peter Nickitas, attorneys for Plaintiff
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